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     Attorneys for Plaintiff, Charles Lercher
 7
                         UNITED STATES DISTRICT COURT
 8
 9                      SOUTHERN DISTRICT OF CALIFORNIA

10
     CHARLES LERCHER, an individual, Case No.: 3:19-cv-01176-JLS-KSC
11                                   Hon. Karen S. Crawford
12
           Plaintiff,
13
     V.
14
                                                STIPULATION OF DISMISSAL
15                                              [FRCP 41(a)] AND ORDER OF
   WYNDHAM SAN DIEGO
16 BAYSIDE, an unknown business                 DISMISSAL
17 entity; WYNDHAM HOTELS &
   RESORTS, INC., a Delaware
18 corporation,
19
20         Defendants.
21
22                                     STIPULATION
23
24         Plaintiff Charles Lercher and Defendant Wyndham Hotels & Resorts, Inc.

25   hereby stipulate under Federal Rule of Civil Procedure 41(a)(l)(ii) that this action
26
     be dismissed with prejudice as to all claims, causes of action, and parties, with
27
28 each party bearing that party's own attorney's fees and costs.


                STIPULATION OF DISMISSAL [FRCP 4l(a)] AND ORDER OF DISMISSAL
                                             1
                                                            Case No. 3:19:cv-01176-JLS-KSC
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 1 Dated: April �t 2020
 2                                   By:
 3                                          Scott E. Schutzman
                                            Attorney for Plaintiff,
 4
                                            Charles Lercher
 5
                                     BAKER & HOSTETLER LLP
 6 Dated: May 18, 2020
 7                                   By:
 8                                          Sabrina L. Shadi
                                            Attorney for Defendant,
 9                                          Wyndham Hotels & Resorts, Inc.
10                                           Email: sshadi@bakerlaw.com
11
12
13
                                ORDER OF DISMISSAL
14
15         Pursuant to the stipulation of the parties under Federal Rule of Civil
16
     Procedure 4 l (a)(l)(ii), IT IS ORDERED THAT THIS ACTION BE, AND
17
18   HEREBY IS, DISMISSED WITH PREJUDICE as to all claims, causes of action,
19 and parties, with each party bearing that party's own attorney's fees and costs.
20
   The Clerk is directed to close the file.
21
22
23 Dated: April _, 2020
24                                          Karen S. Crawford
                                            United States District Judge
25
26
27
28


               STIPULATION OF DISMISSAL [FRCP 4l(a)] AND ORDER OF DISMISSAL
                                            2
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